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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                     No. 4:22-CR-253-P

LAUREN WHITNEY MOORE (01)

                                            ORDER

       Came on to be considered the government’s motion to dismiss the indictment filed

on August 24, 2022, against defendant LAUREN WHITNEY MOORE. The Court

finds said motion to be meritorious.

       It is therefore Ordered, Adjudged, and Decreed, that the government’s motion to

dismiss the indictment filed against the defendant LAUREN WHITNEY MOORE in

this Cause be, and it is hereby, Granted.

       It is further Ordered, Adjudged, and Decreed, that the indictment against

LAUREN WHITNEY MOORE in this Cause is hereby Dismissed, without prejudice.


       Signed this 21st day of November 2022.


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                                            MARK T. PITTMAN
                                            United States District Judge
